Case 2:O4-cr-20177-.]DB Document 72 Filed 05/17/05 Page 1 of 2 Page|D 68

r-'ii-Eb saw »€<T m

|N THE UN|TED STATES D|STR|CT COURT "

FOR THE WESTERN DlsTRlCT oF TENNESSEE 95 l'-‘if».‘r 17 B.F~i 101 33
wEsTERN Dl\/lsloN

 

 

UN|TED STATES OF AMER|CA
Piaintiff

VS.
CR. NO. 04-20177-03-3

LARRY sul_LocK (b)

Defendant.

 

ORDER ON CONT!NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a status report on |V|arch 24, 2005. At that time, counsel for
the defendant requested a continuance of the Apri| 4, 2005 trial date in order to allow for
availability of witnesses in the case.

The Court granted the request and set the trial date of Mondav, June 6, 2005. at
9:30 a.m., in Courtroom 1, 11th Floor of the Federa| Bui|ding, |Viemphis, TN.

The period from i\/lay 31, 2005 through June 17, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

|T |S SO ORDERED this l z da of lVlay, 2005.

.@…

.D NIEL BREEN \
uNl o sTATEs oisTRlcT Juer

Tnis docu ment entered on the docket sheet in compliance

r’- -
Wath able 55 ammar sz(b) FRCrP on 2 §§ cf

 

    
 

UNITED sTATE DISIC CoURT - WESTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 72 in
case 2:04-CR-20177 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

 

 

Kevin P. Whitmore

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Jim B. Johnson

LAW OFFICE OF .T[M B. JOHNSON
253 Adams Ave.

Memphis7 TN 38103

Harold D. Archibald
ARCH[BALD & HALMON
22 North Front Street

Ste. 790

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

